8:05-cr-00294-BCB-SMB   Doc # 199   Filed: 12/17/08   Page 1 of 1 - Page ID # 1222



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES,             )             ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED:

           1) The clerk of court shall strike defendant’s motion

for summary judgment with memorandum and affirmation (Filing No.

191) from the record;

           2) Defendant’s motion under 28 U.S.C. § 2255 to vacate,

set aside, or correct sentence by a person in federal custody

(Filing No. 176) is denied;

           3) Defendant’s motion to stay habeas proceeding without

prejudice (Filing No. 180) and motion for status (Filing No. 197)

are denied as moot.

           DATED this 17th day of December, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
